UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
CHATTANOOGA DIVISION

SECURITIES AND EXCHANGE

COMMISSION,
Plaintiff,
CIVIL ACTION FILE
v. NO. 1:16-cv-307-TRM-
SKL

JAMES HUGH BRENNAN III; DOUGLAS
ALBERT DYER; AND BROAD STREET
VENTURES, LLC,

Defendants,
and

CAROLE JOHNSTON BRENNAN;
ALISON F. DYER,

Relief Defendants.

ORDER
The U.S. Securities and Exchange Commission’s Motion To Set
Disgorgement, Prejudgment Interest and Civil Penalties for Defendants James

Hugh Brennan III, Douglas Albert Dyer and Broad Street Ventures, LLC, having

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been read and considered, and good cause shown,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED | that
Defendants James Hugh Brennan III, Douglas Albert Dyer and Broad Street
Ventures, LLC shall pay, jointly and severally, disgorgement and prejudgment
interest of $4,942,070.18. Said disgorgement and prejudgment interest shall be
offset by an amount equal to the amount of restitution ordered to be paid in the
Order of Restitution entered in U.S. v Brennan, et al., Case No. 1:17-cr-00053
(E.D. Tenn.) on October 4, 2017.

IT IS HEREBY FURTHER ORDERED, ADJUDGED AND DECREED

that no civil penalties shall be imposed against any of the Defendants.

Dated: Feb, (5 , 2018.

Ane ‘%. W Vouwrgle

TRAVIS R. MCDONOUGH 4
UNITED STATES DISTRICT JUDGE

Submitted by:
Robert F. Schroeder

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